                      UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


FARHAD AZIMA,

                         Plaintiff,

v.
                                                  CASE NO. 1:20-cv-00954-WO-JLW
NICHOLAS DEL ROSSO and VITAL
MANAGEMENT SERVICES, INC.,

                         Defendants.


   Memorandum of Law in Support of Defendants’ Emergency Motion to
  Quash and for Protective Order Regarding Subpoenas to First National
       Bank of Pennsylvania and First Citizens Bank & Trust Co.

                             Expedited Relief Requested
                    Response Date for Subpoenas – January 24, 2023

           NOW COME Defendants Nicholas Del Rosso (“Del Rosso”) and Vital

Management Services, Inc. (“VMS”) (collectively, “Defendants”), and, pursuant to

Rules 26 and 45 of the Federal Rules of Civil Procedure (“Rule(s)”), hereby submit the

following brief in support of their Motion to Quash and for Protective Order

Regarding Subpoenas issued by Plaintiff to First National Bank of Pennsylvania and

First Citizens Bank & Trust Co.

     I.       BACKGROUND

           This lawsuit arises out of Plaintiff Farhad Azima’s (“Plaintiff”) allegations –

which Defendants strenuously deny – that Defendants’ engagement with an

international law firm included assisting with the hacking and leaking of Plaintiff’s

confidential and personal business information.           (D.E. 1.)   Indeed, while the




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allegations in the Complaint pertain to conduct on multiple continents spanning over

the course of more than a decade, Plaintiff’s case has been significantly narrowed as

a result of the dismissal of nine of the eleven claims in the Complaint. (See D.E. 65).

       A. The Court limits Plaintiff’s Claims to Defendants’ Alleged 2018-2019
          Conduct.

       On December 10, 2021, in its Memorandum Opinion and Order on Defendants’

Motion to Dismiss pursuant to Rule 12(b)(6) (the “12(b)(6) Opinion”), the Court

granted Defendants Rule 12(b)(6) motion to the extent it sought dismissal of Counts

I, II, III, IV, V, VI, VII, IX, and XI of Plaintiff’s Complaint, largely on statute of

limitations grounds. (D.E. 65; see also D.E. 54). The Court nevertheless permitted

Plaintiff to pursue their North Carolina Misappropriation of Trade Secrets claim

(Count VIII) and a dependent North Carolina civil conspiracy claim (Count X)

(collectively, the “Remaining Claims”), but significantly limited the scope of conduct

which could support the Remaining Claims. (D.E. 65, at pp.22–24).

       More specifically, with respect to the North Carolina misappropriation of trade

secrets claim (Count VIII), the Court concluded:

       the 2016 conduct, 2018 conduct, and 2019 conduct each separately
       triggered accrual of a respective three-year limitations period for that
       particular conduct. Consequently, Plaintiff’s 2020 filing of this case fell
       outside the three-year period for the 2016 conduct. Therefore, as to the
       2018–2019 conduct, Count VIII is not time barred.

(Id. at p. 23.)

       Similarly, with respect to the North Carolina civil conspiracy claim (Count X),

the Court concluded that this broad claim could not survive as originally pled,

acknowledging that “[t]he civil conspiracy claim only survives because this court has

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found that Count VIII (misappropriation of trade secrets under North Carolina law)

remains viable[.]” (Id.) Accordingly, the Court concluded that “Plaintiff’s dependent

civil conspiracy claim is likewise limited to the 2018-2019 conduct – the only

allegations that are not time-barred.” (Id. at p.24).

        Further, in its 12(b)(6) Opinion, the Court specifically identified the “2018-

2019 conduct” to which it was referring—the allegations that Defendants conspired

with CyberRoot Risk Advisory Private Limited (“CyberRoot”)1 to create new blog sites

in May and June 2018 and, again, in June 2019, and that Defendants used

WeTransfer to transfer Plaintiff’s data. (Id. at pp. 17–18 (citing to the Complaint,

D.E. 1, at ¶¶ 16, 19, 22, 24–26)). As such, the Court limited the subject matter and

temporal scope of Plaintiff’s remaining case to these allegations. (See id. at pp. 23–

24).

        More recently, the Court reiterated the narrowed scope of this lawsuit in its

Memorandum Opinion and Order on Defendants Motion to Dismiss pursuant to Rule

12(b)(1), succinctly stating that only “two of Plaintiff’s claims were allowed to proceed:

a North Carolina misappropriation of trade secrets claim arising from the 2018-2019

online posting of new links to Plaintiff’s confidential business data (Count VIII) and

a North Carolina civil conspiracy claim contingent upon the viability of the trade

secrets claim (Count X).” (D.E. 80, at p.4).




1 CyberRoot is a company based out of Gurgaon, India, and at all times relevant, CyberRoot was
accredited to provide cyber security and information technology work for the Indian government.

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          Despite the narrowed scope of this case, Plaintiff has nevertheless commenced

broad discovery into matters unrelated and not proportionate to the Remaining

Claims.

          B. Plaintiff Seeks Broad Discovery Into Defendants’ And Third
             Parties’ Bank Records

          On January 16, 2023, Defendants received notice of Plaintiff’s intent to serve

a third-party subpoena on First National Bank of Pennsylvania (“First National”)

(the “First National Subpoena”) requesting:

          All documents and communications relating to accounts held in the
          name of, owned by, or for the benefit of Shanahan Law Group, Kieran
          Shanahan, Nicholas Del Rosso or Vital Management Services, Inc. This
          request includes transfers to and from those accounts, including but not
          limited to transactions between Shanahan Law Group and Vital
          Management Services, Inc., totaling approximately $6.2 million
          between June 2017 and November 2020. This request includes but is
          not limited to bank statements, account opening documents,
          communications about the accounts or with the account holders, and
          records of money transfers via wire, SWIFT, check, or other method.

See First National Subpoena, Ex. A to Motion.2 Defendants’ counsel, Shanahan Law

Group (“SLG”) and Kieran Shanahan, maintain their firm trust account at First

National.

          Also on January 16, 2023, Defendants received notice of Plaintiff’s intent to

serve a third-party subpoena on First Citizens Bank & Trust Co. (“First Citizens”)

(the “First Citizens Subpoena”) requesting,

          All documents and communications relating to accounts held in the
          name of, owned by, or for the benefit of GH Holdings LLC, Kristin White
          Del Rosso, Nicholas Del Rosso, or Vital Management Services, Inc. This
          request includes transfers to and from those accounts, including but not

2   The return date for the First National Subpoena is January 24, 2023.


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       limited to transactions between GH Holdings LLC and Vital
       Management Services, Inc., totaling $2.325 million between October
       2018 and October 2019. This request includes but is not limited to bank
       statements, account opening documents, communications about the
       accounts or with the account holders, and records of money transfers via
       wire, SWIFT, check, or other method.

See First Citizens Subpoena, Ex. B to Motion.3

       The First National Subpoena and First Citizens Subpoena (collectively, the

“Subpoenas”) specifically target the bank records of Mr. Del Rosso’s wife and his

counsel without any attempt to restrict the production of documents to materials

related to the subject matter of this lawsuit.            Indeed, by not limiting the First

National Subpoena to the subject matter of this lawsuit, the First National Subpoena

implicates a number of scope, proportionality, and confidentiality issues, but also

raises a number of issues under the North Carolina Rules of Professional Conduct.

       Defendants first communicated to Plaintiff via email their objections to the

Subpoenas on January 18, 2023, noting the time-sensitive nature of these objections,4

and requesting a meet-and-confer and the “Expedited Resolution” procedure outlined

in Local Rule 37.1. Amongst others, the primary objections communicated to Plaintiff

were the Subpoenas are overbroad, not reasonably calculated to the production of

admissible evidence, not limited to documents pertaining to the issues remaining in

this lawsuit, and not proportionate to the needs of the case. Moreover, Defendants

pointed out that First National maintains the trust account of Shanahan Law Group



3 Kristin White Del Rosso is Nicholas Del Rosso’s wife, and GH Holdings LLC is her company. Of note,
there was no return date specified in the copy of the First Citizens subpoena provided to Defendants
in Plaintiff’s Rule 45(a)(4) notice.
4 Due to the production date on the First National Subpoena of January 24, 2023—an atypically short

response time—and the lack of clarity as to the response date for the First Citizens Subpoena.

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(“SLG”), and any production in response to the First National Subpoena would

implicate a number of attorney-client privilege issues as well as ethical concerns

under the North Carolina Rules of Professional Conduct. Defendants asked for a

meet and confer conference to be held on January 19, 2023.

        On January 19, 2023, Plaintiff’s responded via email that they are willing to

meet and confer at a later date, but are not willing to consent to the expedited

procedures outlined in Local Rule 37.1. Moreover, Plaintiff’s counsel stated their

position that, inter alia, they “do not know how to ask for a more narrow set of

documents from the bank.”5 Defendants responded and asked for the meet and confer

to be held on January 20, 2023 in light of the January 24, 2023 response date for the

First National Subpoena. A true and accurate copy of these January 18th and 19th

email communications is attached hereto as Exhibit C.

        The Parties ultimately held the meet-and-confer conference for January 20,

2023, at which John Branch was in attendance for Defendants, and Ian Herbert,

Joseph Rillotta, and Kirby Behre were in attendance for Plaintiff.                         In an email

exchange leading up to the conference, Plaintiff’s counsel requested that Defendants

provide proposals as to the narrowing of the Subpoenas. In response, Defendants

stated that it is not Defendants’ duty to draft Plaintiff’s discovery requests for him,

and that the Subpoenas should be withdrawn in their entirety, after which Plaintiff




5More specifically, Plaintiff contends that the Subpoenas “relate[ ] directly to” the specific transactions
referenced in the Subpoena. However, the Subpoenas by their very language are not at all limited to
those specific transactions.

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can reissue the Subpoenas with a narrower scope. A true and accurate copy, of this

email exchange on January 20, 2023 is attached hereto as Exhibit D.6

          During   the   meet-and-confer,     Defendants      reiterated    their    previously

communicated objections with the Subpoenas. Plaintiff’s counsel stated their position

that Defendants do not have standing to challenge the Subpoenas, that there is no

way for the bank to parse out documents related to this litigation, and that if we could

propose some limiting language, they would consider it and might withdraw the

subpoenas. Defendants pointed out that, absent Plaintiff’s full withdrawal of the

Subpoenas, and with production imminent, the only practical way forward is for

Defendants to seek court intervention.

          As such, Defendants now bring their Motion to quash and for Protective Order.

Defendants ask the Court to enter an Order quashing the Subpoenas in their entirety,

or otherwise entering a Protective Order commanding the same. In the interim,

Defendants request that the Court enter an order that, to the extent First National

and First Citizens respond to the subpoenas, such responses should be made to the

Court and not to the Parties.

    II.      LEGAL STANDARD

          A. Rule 26

          Rule 26(c)(1) provides that “[t]he court may, for good cause, issue an order to

protect a party or person from annoyance, embarrassment, oppression, or undue

burden or expense[.]” Fed. R. Civ. P. 26(c)(1). Such orders may prescribe, among


6 Portions of this email chain prior to January 20, 2022 not relevant to the Subpoenas issue were
removed from this exhibit.

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other measures, “forbidding the disclosure or discovery,” or “forbidding inquiry into

certain matters or limiting the scope of disclosure or discovery to certain matters[.]”

Id. at (c)(1)(A), (D).

       Moreover, Rule 26(b)(2)(C) provides that

       On motion or on its own, the court must limit the frequency or extent of
       discovery otherwise allowed by these rules or by local rule if it
       determines that: . . . (iii) the proposed discovery is outside the scope
       permitted by Rule 26(b)(1).

Id. at (b)(2)(C).

       B. Rule 45

       Pursuant to Rule 45, “[o]n timely motion, the court . . . must quash or modify

a subpoena that: . . . (iii) requires disclosure of privileged or other protected matter,

if no exception or waiver applies; or (iv) subjects a person to undue burden.” Fed. R.

Civ. P. 45(d)(3)(A)(iii), (iv). Further, “[t]o protect a person subject to or affected by a

subpoena, the court . . . may, on motion, quash or modify the subpoena if it requires:

(i) disclosing . . . confidential . . . commercial information[.]” Id. at (B)(i).

       “The parties and the [C]ourt have a collective responsibility to consider the

proportionality of all discovery and consider it in resolving discovery disputes.” Covil

Corp. by & through Protopapas v. U.S. Fid. & Guar. Co., 544 F. Supp. 3d 588, 594–

95 (M.D.N.C. 2021) (internal quotation and citation omitted). “District courts enjoy

nearly unfettered discretion to control the timing and scope of discovery.” Id. at 595.




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   III.   ARGUMENT

      A. Standing

      Preliminarily, Defendants address any argument that they lack standing to

challenge the Subpoenas. Indeed, under Rule 45, “[a] motion to quash or modify a

subpoena duces tecum may only be made by the party to whom the subpoena is

directed except where the party seeking to challenge the subpoena has a personal

right or privilege with respect to the subject matter requested in the subpoena.

Newcomb v. Principal Mut. Life Ins. Co., 2008 WL 3539520, at *1 (W.D.N.C. Aug. 11,

2008) (internal quotation marks and citation omitted).

      First, as previously discussed, First National maintains the trust account of

SLG. As such, any production in response to the First National Subpoena would

undoubtedly create a whole host of attorney-client privilege and ethical concerns.

Such concerns are sufficient to confer standing to bring a motion to quash a third-

party subpoena. See Davis v. Reliance First Cap., LLC, 2022 WL 17085598, at *2

(E.D.N.C. Nov. 18, 2022) (acknowledging that “[c]ourts often allow a litigant to quash

a third-party subpoena that would undermine attorney-client privilege or work-

product protections[.]”).

      Second, “a defendant has standing to challenge subpoenas under Rule 26

regardless of whether [it has] standing to bring a motion to quash under Rule 45.”

Beach Mart, Inc. v. L&L Wings, Inc., 2015 WL 13718077, at *1 (E.D.N.C. May 5, 2015)

(finding defendant had standing to challenge third-party subpoena under Rule 26)

(internal quotations and citation omitted); see also N. Carolina Mut. Life Ins. Co. v.



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Stamford Brook Cap., LLC, 2020 WL 13303331, at *3 (M.D.N.C. Nov. 16, 2020)

(reaching the merits on defendant’s motion to quash third party subpoena despite

standing being “unlikely” by “interpreting his motion as one for protective order”

under Rule 26(c)), reconsideration denied, 2020 WL 13303324 (M.D.N.C. Dec. 16,

2020).

         Accordingly, to the extent Defendants lack standing to challenge the

Subpoenas under Rule 45, Defendants request that the Court treat this Motion as

one for protective order under Rule 26, seeking the same result by “forbidding

the . . . discovery” or “forbidding inquiry into certain matters or limiting the scope

of . . . discovery to certain matters[.]” See Fed. R. Civ. P. 26(c)(1)(A), (D); see also

Nallapaty v. Nallapati, 2022 WL 1508885, at *4 (E.D.N.C. May 12, 2022) (“[C]ourts

within the Fourth Circuit have construed a motion to quash as one for a protective

order where . . . the moving party relied on Rule 26 in arguing issues such as relevance

and overbreadth.”).

   B. The Subpoenas Are Overbroad And Unduly Burdensome, And Not
      Proportionate to the Needs of the Case.

         In effect, the Subpoenas command the production of “[a]ll documents and

communications”—i.e., the entire bank file and any communications or other

documents related thereto—from 2014 to present “relating to” Defendants; Mr. Del

Rosso’s wife, Kristin White Del Rosso; Mrs. Del Rosso’s company, GH Holdings LLC

(“GH Holdings”); Defendants’ lawyer, Kieran Shanahan; and Mr. Shanahan’s law

firm, SLG.

         In regard to the scope of proper discovery, the Fourth Circuit has stated that:

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      All civil discovery, whether sought from parties or nonparties, is limited
      in scope by Rule 26(b)(1) in two fundamental ways. First, the matter
      sought must be relevant to any party’s claim or defense. Relevance is
      not, on its own, a high bar. . . . Rule 26 therefore imposes another
      requirement: discovery must also be proportional to the needs of the
      case. Proportionality requires courts to consider, among other things,
      whether the burden or expense of the proposed discovery outweighs its
      likely benefit.

Virginia Dep't of Corr. v. Jordan, 921 F.3d 180, 188–89 (4th Cir. 2019) (cleaned up).

      Moreover, this Court has stated that “[a] subpoena imposes an undue burden

on a party when it is overbroad. A subpoena is overbroad if it does not limit the

documents requested to subject matter relevant to the claims or defenses.” Jiangmen

Kinwai Furniture Decoration Co. v. IHFC Props., LLC, 2015 WL 5098791, at *6

(M.D.N.C. Aug. 31, 2015) (internal quotation marks and citation omitted).

      Here, Plaintiff does not make any effort to limit the documents and

communications requested by the Subpoenas to subject matter relevant to this

lawsuit or proportionate to the needs of the case—much less in light of the Court

already limiting the relevant subject matter and temporal scope of the Remaining

Claims “to the [alleged] 2018-2019 conduct—the only allegations that are not time

barred.” (D.E. 65, at p. 24).

      First, the Subpoenas contain no subject matter limitation, or any language

that would limit production to matters even remotely relevant to this lawsuit.

Rather, they boldly command the production of entire banking files (and anything

“relating to” those files), going all the way back to 2014, including those of persons

and entities wholly unrelated to Plaintiff or his Remaining Claims.         This will

undoubtedly result in a production of irrelevant and confidential information.

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Indeed, “[c]ourts have . . . recognized that production of bank records can create a

high potential to disclose a whole host of irrelevant and confidential business related

information.” Elsayed v. Fam. Fare LLC, 2019 WL 8586708, at *4 (M.D.N.C. Oct. 31,

2019) (cleaned up). Moreover, our courts are wary of subpoenas “for an entire file”

and “frequently conclude[ ]” that such subpoenas are overbroad in that they are likely

to include “irrelevant information.” Jiangmen Kinwai Furniture Decoration Co., LLC,

2015 WL 5098791 at *6 (internal quotations and citation omitted) (granting motion

for protective order and quashing “unduly burdensome and unduly expansive” third-

party subpoenas which “were not reasonably calculated to obtain relevant

information.”); see also McNeil v. Glasco, 2021 WL 1206588, at *2 (E.D.N.C. Mar. 30,

2021) (limiting, by way of protective order, scope of subpoena to subject matter

relevant to claims and defenses).

       Second, a temporal scope of “August 1, 2014 until now”—stated in the

“Instructions” section rather than in the “Documents to be Produced” section of the

Subpoenas—would include a production of bank records from time periods not

relevant to this lawsuit (i.e., time periods well before the relevant “2018-2019

conduct”). See Allegood v. Graham, 2018 WL 4305766, at *4 (E.D.N.C. Sept. 10, 2018)

(modifying temporal scope of subpoena served upon PNC Bank to time period

relevant to claims at issue); see also G.H. v. Marstiller, 2020 WL 13228155, at *3 (N.D.

Fla. Mar. 24, 2020) (granting motion for protective order limiting temporal scope of

third-party subpoena that requested medical records “too distant in time to the events

giving rise to [p]laintiff’s claims”).



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       Third, Plaintiff cannot substantiate any basis for his need of the banking

records of the non-parties targeted by the Subpoena’s—i.e., Mrs. Del Rosso, GH

Holdings, Mr. Shanahan, or SLG. Indeed, discovery sought from nonparties is subject

to a stricter standard, and “should not be drawn into the parties’ dispute without

some good reason, even if they have information that falls withing the scope of party

discovery.” Virginia Dep't of Corr., 921 F.3d at 189 (“A more demanding variant of

the proportionality analysis . . . applies when determining whether, under Rule 45, a

subpoena issued against a nonparty ‘subjects a person to undue burden’ and must be

quashed or modified.”). Much less, Plaintiff cannot substantiate why, with regard to

the First National Subpoena, Plaintiff would need such a broad swath of banking

records from SLG’s law firm trust account, which raises a whole host of attorney-

client privilege and ethical concerns. See supra § III(C).

       Presumably, Plaintiff’s only reason for seeking bank records related to Mrs.

Del Rosso, GH Holdings, Mr. Shanahan, or SLG is that their names (and associated

transactions) appear in bank records already in Plaintiff’s possession—i.e.,

Defendants’ bank records that were previously obtained by way of a November 2,

2022 subpoena on PNC Bank, served prior to the Court’s entry of an initial pretrial

order, and without serving a notice to Defendants pursuant to Rule 45(a)(4).7 Indeed,

given the familial and attorney-client relationship between the aforementioned non-

parties and Defendants, it should come as no surprise that Defendants’ bank records

reflect payments to and from the same.


7Rather, Defendants did not receive a copy of the subpoena to PNC Bank, which was sent via mail,
until November 7, 2022.

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       Moreover, such broad subpoenas—not limited to the subject matter of this

lawsuit—targeting the bank records of persons and entities unrelated to Plaintiff or

his Remaining Claims—can only be characterized as an improper fishing expedition,

designed to fish for information in furtherance of Plaintiff’s other pending matters in

other jurisdictions.8       See Elsayed, 2019 WL 8586708, at *4 (finding plaintiff’s

rationale for seeking bank statements “suffer from such vagueness as to warrant the

inference” that the “reason for requesting these bank statements would be to go on a

fishing expedition with the hope of uncovering wrongful actions by defendants”);

Jiangmen Kinwai Furniture Decoration Co., 2015 WL 5098791 at *6 (“It may well be

that, within the broad categories of documents . . . , there could be something

potentially relevant. That, however, doesn’t justify a fishing expedition.”). Allowing

for such broad discovery into these bank records would only afford Plaintiff another

opportunity to mischaracterize unrelated and otherwise lawful transactions to

support his ever-changing timeline and narrative regarding the “conspiracy” to hack

his data.

       Therefore, for the foregoing reasons, the Subpoenas are overbroad, impose an

undue burden, and are not proportional to the needs of the case. Accordingly, the




8 Plaintiff has multiple other related matters pending in other jurisdictions, including but not limited
to Azima, et al. v. Dechert LLP, et al., Case No. 1:22-cv-08728-PGG (S.D.N.Y. filed October 13, 2022)
(the “SDNY Matter”), where discovery has yet to commence. Indeed, on January 18, 2023, the
Honorable Paul G. Gardephe stayed discovery in the S.D.N.Y. Matter “pending resolution of
Defendants’ motions to dismiss.” Azima, et al. v. Dechert LLP, et al., Case No. 1:22-cv-08728-PGG, at
D.E. 104 (S.D.N.Y. Jan. 18, 2023). Plaintiff should not be allowed to serve discovery here, seeking
information unrelated to his Remaining Claims, in what appears to be an end-run around the
scheduling in the SDNY Matter.

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Court should quash the Subpoenas, or otherwise limit their scope to bank records and

communications relevant to Plaintiff or his Remaining Claims.

   C. The First National Subpoena Raises Attorney-Client Privilege And
      Ethical Concerns

      Notwithstanding the multitude of issues raised above with regard to the

Subpoenas, all which should provide a basis for the Court to quash them in their

entirety, the First National Subpoena should be quashed on additional grounds. Not

only is the First National Subpoena an overbroad and unrestrained fishing

expedition, but it seeks all bank records of and relating to SLG’s law firm trust

account, likely infringing upon one of the strongest protections afforded throughout

and beyond the discovery process—the attorney-client privilege.         See, generally,

Upjohn Co. v. United States, 449 U.S. 383, 389–90 (1981) (establishing that the

attorney-client privilege is one born of necessity in encouraging clients to make full

disclosures to their attorney).

      Moreover, Rule 1.6(a) of the North Carolina Rules of Professional Conduct sets

forth the mandate that a lawyer “shall not reveal information acquired during the

professional relationship with a client unless the client gives informed consent. . . .”

Revised Rules of Professional Conduct 1.6(a) (2022); see also N. Carolina State Bar v.

Sossomon, 206 N.C. App. 766 (2010), writ denied, review denied sub nom. N. Carolina

State Bar v. Sossoman, 365 N.C. 89, 706 S.E.2d 245 (2011) (reaffirming that the duty

imposed by Rule 1.6 is a continuing one).

      Indeed, “the attorney-client privilege ordinarily protects neither a client’s

identity nor information regarding the fee arrangements reached with that client.”

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In re Horn, 976 F.2d 1314, 1317 (9th Cir. 1992) (emphasis added) (citation omitted).

However, there are clearly established exceptions to this rule, such as instances

where the “attorney may invoke the privilege to protect the identity of a client or

information regarding a client's fee arrangements if disclosure would “convey[ ]

information which ordinarily would be conceded to be part of the usual privileged

communication between attorney and client.” Id. (quoting Bair v. Koerner, 279 F.2d

623, 632 (9th Cir. 1960)). Based on the overbreadth of the First National Subpoena,

such disclosures are likely.

         Moreover, the typical case where discovery into a law firm’s trust accounts is

permitted involves claims of wrongdoing by the attorney or law firm. See, e.g.,

Reiserer v. United States, 479 F.3d 1160. 1165–66 (9th Cir. 2007) (finding that an

examination into trust accounts of law firm was permissible as arising under claims

the attorney was assisting specific clients with illegal tax acts). No such allegations

against Kieran Shanahan or SLG have been brought here, and Plaintiff cannot

articulate any reasonable basis warranting such an intrusion.

         Accordingly, in addition the reasons previously stated with regard to both

Subpoenas, the First National Subpoena should be quashed or otherwise limited such

that they are devoid of attorney-client privilege or ethical concerns.

   IV.      CONCLUSION

         For the foregoing reasons, Defendants respectfully move this Court for an

Order quashing or modifying the Subpoenas, or otherwise entering a Protective Order

commanding the same, and for an interim Order directing that, to the extent First



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National or First Citizens makes a production pursuant to the Subpoenas, such

production be made to the Court—not to the Parties—to be held in camera until the

Motion is decided.

      Respectfully submitted, this the 20th day of January, 2023.

                                             NELSON MULLINS RILEY &
                                              SCARBOROUGH, LLP

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                          CERTIFICATE OF SERVICE

       I hereby certify that on this 20th day of January, 2023, I electronically filed
the foregoing document with the Clerk of the Court using the CM/ECF system, which
will send electronic notification of filing to the following:

Jonathan D. Townsend                   Calvin Lee
Christopher W. Jones                   Ian Herbert
Ripley Rand                            Kirby D. Behre
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                        WORD COUNT CERTIFICATION

      Pursuant to Local Rule 7.3(d)(1), I hereby certify, subject to Fed. R. Civ. P. 11,

that this brief contains 4247 words, according to the word count feature of the word

processing system used to prepare the brief. Accordingly, the brief does not exceed

the 6,250-word limitation.

      Respectfully submitted this 20th day of January, 2023.



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                       LOCAL RULE 37.1(a) CERTIFICATION

         Pursuant to Local Rule 37.1(a), I hereby certify, subject to Fed. R. Civ. P. 11,

and as set out more fully in this Memorandum of Law, the Parties met and conferred

on this issue through multiple email exchanges as well as a teleconference on January

20, 2023, that after personal consultation and diligent attempts to resolve differences,

the parties are unable to reach an accord regarding Plaintiff’s subpoenas to First

Citizens Bank and First National Bank of Pennsylvania.

         Respectfully submitted this 20th day of January, 2023.



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